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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

Defendants.




          DECLARATION OF JEFFREY M. GOULD ON BEHALF OF PLAINTIFFS IN
                OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

            I, Jeffrey M. Gould, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

            1.     I am Senior Counsel with the law firm, Oppenheim + Zebrak, LLP (“O+Z”),

     attorneys of record for Plaintiffs Sony Music Entertainment, Arista Music, Arista Records LLC,

     LaFace Records LLC, Provident Label Group, LLC, Sony Music Entertainment US Latin, Volcano

     Entertainment III, LLC, Zomba Recordings LLC, Sony/ATV Music Publishing LLC, EMI Al

     Gallico Music Corp., EMI Algee Music Corp., EMI April Music Inc., EMI Blackwood Music Inc.,

     Colgems-EMI Music Inc., EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music,

     EMI Consortium Songs, Inc., individually and d/b/a EMI Longitude Music, EMI Feist Catalog

     Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc., EMI Unart Catalog Inc., EMI U Catalog

     Inc., Jobete Music Co. Inc., Stone Agate Music, Screen Gems-EMI Music Inc., Stone Diamond

     Music Corp., Atlantic Recording Corporation, Bad Boy Records LLC, Elektra Entertainment

     Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc., Roadrunner Records, Inc., Warner

     Bros. Records Inc., Warner/Chappell Music, Inc., Warner-Tamerlane Publishing Corp., WB Music




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 Corp., W.B.M. Music Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc.,

 Intersong U.S.A., Inc., UMG Recordings, Inc., Capitol Records, LLC, Universal Music Corp.,

 Universal Music – MGB NA LLC, Universal Music Publishing Inc., Universal Music Publishing

 AB, Universal Music Publishing Limited, Universal Music Publishing MGB Limited, Universal

 Music – Z Tunes LLC, Universal/Island Music Limited, Universal/MCA Music Publishing Pty.

 Limited, Universal – Polygram International Tunes, Inc., Universal – Songs of Polygram

 International, Inc., Universal Polygram International Publishing, Inc., Music Corporation of

 America, Inc. d/b/a Universal Music Corp., Polygram Publishing, Inc., Rondor Music

 International, Inc., and Songs of Universal, Inc. (collectively, “Plaintiffs”).      I submit this

 declaration on behalf of Plaintiffs and in opposition to the Motion to Compel (the “Motion”) filed

 by Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Defendants” or

 “Cox”). I have personal knowledge of the facts stated herein and, if called upon to do so, I can

 and will testify competently thereto.

        2.      I have participated in teleconferences with Defendants’ counsel on multiple

 occasions, including on December 12 and 14, 2018 and January 7, 2019, to discuss, among other

 things, the overly broad scope of Defendants’ 175 Requests for Production and 12 Interrogatories.

 I have also corresponded with Defendants’ counsel by letter and email for the same purpose. In

 our meet-and-confer calls with Defendants’ counsel, Plaintiffs have asked Cox repeatedly to

 narrow their discovery requests to a reasonable scope tailored to the legitimate needs of this case.

 In all but a few instances, Cox has refused to narrow the scope of its requests and, instead,

 demanded that Plaintiffs specifically identify to Cox all the potential non-relevant categories and

 documents encompassed by its broad requests. With respect to Cox’s requests for all documents

 concerning Cox, after much prodding, Cox made the narrow concession that it was not interested




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 in receiving documents containing “monthly invoices for Cox’s services” or emails that simply

 use a .cox domain. Cox has demanded documents after 2014. This is unreasonably broad and

 burdensome. The relevant time period at issue in this case is cabined by the stipulation between

 the parties that the relevant time period is 2012 to 2014, and Cox has so limited its own discovery

 responses.

         3.      Plaintiffs already have produced nearly 300,000 documents in this matter, and are

 continuing to produce documents on a rolling basis. To date, Plaintiffs’ production includes

 copyright registration records, chain of title documents, infringement evidence including

 infringement notices, financial information, corporate reports, and organizational charts. In

 particular, Plaintiffs have already produced records demonstrating that each of the works in suit is

 protected by a copyright registration. In addition, Plaintiffs have produced, and are in the process

 of completing their production of, various “chain of title” documents that link each named Plaintiff

 to the claimant listed on the copyright registrations to the extent it is not a Plaintiff.

         4.      Plaintiffs’ counsel asked Cox on multiple occasions to engage in a reciprocal

 dialogue about appropriate search terms with which the parties could search for and cull responsive

 electronically stored information (ESI). I first raised the issue in my December 10, 2018 letter to

 Cox (attached as Exhibit 6 to the Declaration of Jennifer Golinveaux (“Golinveaux Declaration”)

 (ECF No. 75-7), where we made clear that Plaintiffs expected that the parties would exchange and

 discuss appropriate search terms. Plaintiffs again raised the issue during our teleconference with

 Cox’s counsel on January 7, 2019. Cox’s counsel asked Plaintiffs to provide their proposal in

 writing, which my colleague, Kerry Mustico, did by email on January 8, 2019. Thereafter, Cox

 refused to engage in a discussion about the parties’ mutual exchange of proposed search terms and

 custodians for ESI discovery. When my colleague asked Cox’s counsel whether they were




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 refusing to disclose the search terms Cox apparently has unilaterally chosen and determined to be

 adequate for its own ESI, and an explanation for such, Cox’s counsel ignored Ms. Mustico’s email.

 Attached hereto as Exhibit A is a true and correct copy of an email exchange between Plaintiffs’

 counsel and Defendants’ counsel ending on January 11, 2019.

        5.      Given Cox’s refusal to engage with Plaintiffs about appropriate ESI search terms

 and custodians, Plaintiffs are in the process of collecting, searching, and reviewing potentially

 responsive ESI on their own. In particular, Plaintiffs are conducting searches of their relevant

 custodians’ ESI using appropriate search terms.        Plaintiffs’ searches target, among other

 categories, non-privileged documents concerning: Cox and copyright infringement; MarkMonitor

 and various topics, including BitTorrent, P2P, copyright infringement, Cox, piracy, and illegal or

 unauthorized downloading; RIAA and Cox; and the effect of piracy via BitTorrent and P2P on

 Plaintiffs’ revenues or profits.

        6.      On January 9, 2019, I also requested that the parties meet and confer again in an

 attempt to resolve many of the open discovery issues. Cox ignored that request. Attached hereto

 as Exhibit B is a true and correct copy of my January 9, 2019 letter to Cox’s counsel.

        7.      Attached hereto as Exhibit C is a true and correct copy of Capitol Records Inc. v.

 MP3Tunes, No. 07 Civ. 9931 (WHP), ECF No. 168 (S.D.N.Y. Apr. 12, 2010).

        8.      Attached hereto as Exhibit D is a true and correct copy of BMG Rights Management

 (US) LLC, et al. v. Cox Enterprises, Inc., et al., No. 1:14-cv-01611-LO-JFA, Excerpted Hearing

 Transcript (E.D. Va. June 26, 2015).

        9.      Attached hereto as Exhibit E is a true and correct copy of BMG v. Cox, No. 1:14-

 cv-01611-LO-JFA, Excerpted Trial Transcript (E.D. Va. Dec. 11, 2015) (pp 1686-97, 1691-95

 1713-19).




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        10.    Attached hereto as Exhibit F is a true and correct copy of the International

 Federation of the Phonographic Industry (IFPI) 2014 Digital Music Report, available at:

 https://www.ifpi.org/downloads/Digital-Music-Report-2014.pdf (last visited Jan. 23, 2018).

        11.    Attached hereto as Exhibit G is a true and correct copy of Warner Bros. Records

 Inc. v. Seeqpod, Inc., No. CV 08-335 (VBF) (PLA), ECF No. 31, at 12 (C.D. Cal. Mar. 31, 2008).

        12.    Attached hereto as Exhibit H is a true and correct copy of Disney Enterprises, Inc.

 et al. v. Hotfile Corp. et al., No 11-cv-20427-KMW, ECF No. 138 (S.D. Fla. Sept. 1, 2011).

        13.    Attached hereto as Exhibit I is a true and correct copy of UMG Recordings, Inc. v.

 Lindor, No. 05-cv-1095-DGT-RML, ECF No. 240 (E.D.N.Y. May 16, 2008).



        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief.



                                                               /s/ Jeffrey M. Gould



 Executed this 23rd day of January, 2019 in Washington, D.C.




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